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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 DYLAN REEVES,                                 )
                                               )
                  Plaintiff,                   )         Case No. 21-cv-04592
                                               )
 vs.                                           )         Hon. Sharon Johnson Coleman
                                               )
 ARGOLICA, LLC,                                )
                                               )
                  Defendant.                   )
                                               )

           PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
             PURSUANT TO FED. R. CIV. P. 12 (b)(1) AND 12 (b)(6) [DE #11]

          Plaintiff, Dylan Reeves (“Plaintiff”), by and through his undersigned attorneys, for his

response to Defendant’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) [DE

#11], states:

I.        RELEVANT FACTS AND BACKGROUND

          Reeves brought this case because Argolica, a buyer of defaulted consumer debt, violated

the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. (“FDCPA”), when it sought to

collect a debt that it did not own and to foreclose a mortgage that it did not hold and had no right

to enforce. (Complaint, CM/ECF 1, ¶1). In 2011, Plaintiff is alleged to have defaulted in payments

required by the Loan. On November 22, 2011, an action to collect the Loan and foreclose upon the

Home was commenced by the filing of a case in the Circuit Court of Cook County, Illinois (Case

No. 11-CH-40227). Id. at ¶20. That proceeding is referenced herein as the “Foreclosure Case.” Id.

After the filing of the Foreclosure Case, ownership of the Loan was transferred multiple times and

at some point, Argolica owned the Loan. Id. at ¶20. As of June 30, 2021, the Loan was owned by

Limosa, LLC. See “Notice of Sale of Ownership of Mortgage Loan” attached as Exhibit 1. Id. at



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¶22. On July 29, 2021 and after the Loan was transferred to Limosa, LLC, Argolica filed in the

Foreclosure Case its Third Amended Complaint for Foreclosure of Mortgage and for Other Relief

(“Third Amended Complaint”). A copy of the Third Amended Complaint is attached as Exhibit 2.

Id. at ¶23. In the Third Amended Complaint, Argolica represented that Argolica was the owner of

the Loan and had a right to collect the Loan from the Plaintiff through the foreclosure of an asserted

lien on his Home. Id. at ¶24. The statements made by Argolica in the Third Amended Complaint

were false. Id. at ¶25. At the time that Argolica filed the Third Amended Complaint, it did not own

the Loan and Argolica had no legal capacity to collect the Loan, to maintain the Foreclosure Case

or to foreclose any asserted lien on the Home. Id. at ¶26. The Third Amended Complaint also

disclosed the Plaintiff’s full name and complete social security number.

         The foregoing facts must be taken as true and indeed are not challenged by Argolica in its

Motion. Instead, Argolica relies solely on the argument that Plaintiff’s claims are defeated because

actual damages are not pled. This conclusion is also without basis upon even a cursory review of

the Plaintiff’s complaint. Plaintiff pleads that he incurred actual damages. At paragraph 27 of his

Complaint, he pleads: “Upon learning of the Third Amended Complaint having been filed, Plaintiff

was forced to retain legal counsel to research, prepare and file a motion to dismiss the Third

Amended Complaint in the Foreclosure Case.” Id. at ¶27. “This caused Plaintiff to incur attorneys

fees that he would not have incurred but for the conduct of Argolica.” Id.

II.      LAW AND ARGUMENT

         (A)     Rule 12(b)(6) Standard

         The Supreme Court instructs that to survive a Rule 12(b)(6) motion to dismiss, a complaint

must “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim satisfies this standard




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when its factual allegations “raise a right to relief above the speculative level.” Twombly, 550 U.S.

at 555-56; see, also, Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010) (“[P]laintiff

must give enough details about the subject- matter of the case to present a story that holds

together.”). All facts alleged by the plaintiff must be taken as true and all reasonable inferences

from those facts must be made in the plaintiff’s favor, although conclusory allegations that merely

recite elements of a claim are not entitled to this presumption. Virnich v. Vorwald, 664 F.3d 206,

212 (7th Cir. 2011). Because the focus of Rule 12(b)(6) motions is on the pleadings, they “can be

based only on the complaint itself, documents attached to the complaint, documents that are critical

to the complaint and referred to in it, and information that is subject to proper judicial notice.”

(Geinosky v. City of Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012)). But a nonmovant has more

flexibility, for it “may elaborate on [its] factual allegations so long as the new elaborations are

consistent with the pleadings.” (Id.). Evaluating whether a “claim is sufficiently plausible to

survive a motion to dismiss is ‘a context-specific task that requires the reviewing court to draw on

its judicial experience and common sense.’” Id. (quoting McCauley v. City of Chicago, 671 F.3d

611, 616 (7th Cir. 2011)).

       The complaint here meets and exceeds this standard.

       (B)     FDCPA Standard

       “To establish a prima facie case under the FDCPA, a plaintiff must prove that she is a

natural person or ‘consumer’ who is harmed by violations of the FDCPA; that the debt arises from

a transaction entered for personal, family or household purposes; that defendant is a debt collector;

and that defendant has violated a provision of the FDCPA.” Pantoja v. Portfolio Recovery

Associates, LLC, 78 F. Supp. 3d 743, 745 (N.D. Ill. 2015) (citing Freeland v. Kulak, 2013 WL

6036841*3 (N.D. Ind. Nov. 13, 2013)). In its Motion, Argolica does not challenge any element of




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Plaintiff’s prima facie case, but instead argues that the Complaint constitutes an improper attempt

to use the FDCPA as an enforcement mechanism for a violation of the Illinois Rules of Civil

Procedure. Response, ¶II. That argument is taken up below.

         (C)     Rule 12(b)(1) Standard

         Article III of the Constitution grants federal courts the power to decide “Cases” and

“Controversies.” U.S. Const. art III, § 2. Standing is a doctrine “rooted in the traditional

understanding of a case or controversy” that “limits the category of litigants empowered to

maintain a lawsuit in federal court to seek redress for a legal wrong.” Spokeo, Inc. v. Robins, 136

S. Ct. 1540, 1547, 194 L.Ed. 2d 635 (2016). As such, in order to invoke a federal court’s

jurisdiction, a plaintiff must demonstrate standing to sue. Id.

         Standing exists when a plaintiff: (1) has suffered an injury in fact, (2) that is fairly traceable

to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision. Id. And because the elements of standing “are not mere pleading requirements

but rather an indispensable part of the plaintiff's case,” the plaintiff must support each element

“with the manner and degree of evidence required at the successive stages of the litigation.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 561, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992). As such,

general factual allegations regarding the elements of standing will suffice at the pleading stage.

Id.

         As to the “injury in fact” requirement, the plaintiff must demonstrate “‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

conjectural or hypothetical.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560). An

injury is particularized if it “affect[s] the plaintiff in a personal and individual way.” Lujan, 504

U.S. at 560 n.1. The Supreme Court has stated that “[a] concrete injury must be de facto; that is,




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it must actually exist.” Id. Further, a concrete injury is one that is “real … not abstract.” Spokeo,

136 S. Ct. at 1548. Although tangible injuries may be easier to recognize, intangible injuries can

also be concrete. Id. at 1549.

       As to determining whether intangible injuries may constitute injuries in fact, “both history

and the judgment of Congress play important roles.” Id. Specifically, because “Congress is well

positioned to identify intangible harms that meet minimum Article III requirements,” its judgment

is “instructive and important.” Id. But the Supreme Court has explained that a plaintiff does not

automatically satisfy the injury-in-fact requirement :whenever a statute grants a person a statutory

right and purports to authorize that person to sue to vindicate that right.” Id. To the contrary, the

Spokeo court affirmed that “Article III requires a concrete injury even in the context of a statutory

violation.” Id.

       Late last year, the Seventh Circuit issued a series of decisions addressing the issue of

standing in the context of the FDCPA. See, e.g., Larkin v. Fin. Sys. of Green Bay, Inc., 982 F.3d

1060 (7th Cir. 2020) (no standing where plaintiffs did not allege any harm or appreciable risk of

harm from receipt of dunning letters); Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067

(7th Cir. 2020) (no standing where plaintiff did not allege injury from statement in dunning letter

about reporting release of indebtedness to the IRS); Spuhler v. State Collection Serv., Inc., 983

F.3d 282 (7th Cir. 2020) (plaintiffs failed to set forth evidence of specific facts demonstrating

concrete injury due to omission of statement in dunning letter about accruing interest); Nettles v.

Midland Funding LLC, 983 F.3d 896, 899 (7th Cir. 2020) (case remanded for dismissal on standing

grounds where plaintiff did not allege that collection letter's overstatement of debt amount harmed

plaintiff or created an appreciable risk of harm).




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       One general principal elucidated by the Seventh Circuit’s recent decisions is that whether

an FDCPA violation is categorized as procedural or substantive, a plaintiff “must allege (and later

establish) that the statutory violation harmed him or ‘presented an appreciable risk of harm to the

underlying concrete interest that Congress sought to protect.’” Larkin, 982 F.3d at 1060 (quoting

Casillas v. Madison Avenue Associates, 926 F.3d 329, 333 (7th Cir. 2019)); see, also, Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 158, 134 S. Ct. 2334, 189 L. Ed. 2d 246 (2014)

(recognizing “substantial risk” of imminent future injury suffices to satisfy Article III (quoting

Clapper v. Amnesty Int'l USA, 568 U.S. 398, 414 n.5, 133 S. Ct. 1138, 185 L. Ed. 2d 264 (2013).

       A motion to dismiss under Rule 12(b)(1) challenges the Court’s subject matter jurisdiction.

Fed. R. Civ. P. 12(b)(1). Where, as here, a defendant challenges the sufficiency of the allegations

regarding subject matter jurisdiction—a facial challenge—the Court “must accept all well-pleaded

factual allegations as true and draw all reasonable inferences” in the plaintiff's favor. Silha v. ACT,

Inc., 807 F.3d 169, 173 (7th Cir. 2015). “[W]hen evaluating a facial challenge to subject matter

jurisdiction,” the Court employs the Twombly-Iqbal “plausibility” standard, “which is the same

standard used to evaluate facial challenges to claims under Rule 12(b)(6).” Id. at 174.

       (D)     Plaintiff Has Pled Actual Damages and the Court Has Jurisdiction

       Relying on the Seventh Circuit’s recent dispatch of a flurry of decisions dismissing FDCPA

action where actual damages were not clearly pled, Defendant asks the Court here to ignore the

fact that actual damages have been plead, suggesting instead that retaining an attorney and

incurring fees to research, draft and appear at a hearing in state court to obtain proper dismissal of

an improperly filed complaint is the equivalent to the no harm no foul scenario encountered by a

consumer when she merely consults an attorney following receipt of an improper communication.

This false equivalency has no merit.




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       (E)     Plaintiff’s Complaint is Not an Improper Attempt to Use the FDCPA to
               Circumvent State Court Procedural Rules

       In Heintz v. Jenkins, 514 U.S. 291 (1995), the United States Supreme Court held that the

FDCPA applies to attorneys who “‘regularly’ engage in consumer-debt-collection activity, even

when that activity consists of litigation.” 514 U.S. at 299. And while the Supreme Court recently

held in Obduskey v. McCarthy & Holthus, LLP, 139 S. Ct. 1029 (2019) that businesses (including

law firms) engaged in no more than non judicial foreclosure proceedings are not “debt collectors”

under the FDCPA except for the limited purpose of 15 U.S.C. §1692f(6), that holding expressly

did not affect cases involving judicial foreclosure proceedings as here. See Obduskey, 139 S. Ct.

at 1039 (“whether those who judicially enforce mortgages fall within the scope of the primary

definition is a question we can leave for another day.”).

       Plaintiff’s position is supported by decisions finding plausible FDCPA violations where a

plaintiff pleads that a false statement was made in a state court judicial proceeding. Illustrative is

Judge Durkin’s opinion from October 30, 2019 in Berg v. McCall Raymer Leibert Pierce, LLC,

No. 19 C 5113, 2019 WL 5592720 (N.D. Ill. 2019). In that case, the Court was called upon to

decide a motion to dismiss on facts strikingly similar to those here. Id. In Berg, the plaintiffs

alleged violation of the FDCPA when the law firm filed an action against a party not obligated on

the subject note and mortgage. Id. *2. As here, the defendant argued that foreclosure activity fell

outside of the FDCPA. Id. *3. In denying the motion to dismiss, Judge Durkin provides this helpful

discussion of the state of the law on this issue:


              Alternatively, MRLP contends that dismissal is proper because O’Rourke v.
              Palisades Acquisition XVI, LLC, 635 F.3d 938 (7th Cir. 2011) established
              that the FDCPA does not extend to state court filings. But contrary to
              MRLP’s representation, the court in O’Rourke expressly stated that “nothing
              in the opinion states or should be read to address whether the [FDCPA]
              applies to the entire judicial process.” O’Rourke, 635 F.3d at 941, n.1.


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       Instead, O’Rourke merely held that filings meant to deceive judges do not
       warrant protection because the FDCPA’s “prohibitions are clearly limited to
       communications directed to the consumer and do not apply to state judges.”
       Id. at 941. Moreover, the Seventh Circuit held more recently in Marquez v.
       Weinstein, Pinson & Riley, P.S., 836 F.3d 808 (7th Cir. 2016) that the
       FDCPA can regulate state court pleadings and filings—at least for purposes
       of Section 1692e. See Marquez, 836 F.3d at 810 (agreeing with the
       “[n]umerous circuits” that have already “concluded that pleadings or filings
       in court can fall within the FDCPA”).

       Whether a Section 1692f violation may be premised upon a state court filing
       is less clear. The Seventh Circuit observed in Bentrud v. Bowman, Heintz
       Boscia & Vician, P.C., 794 F.3d 871 (7th Cir. 2015) and Beler v. Blatt,
       Hasenmiller, Leibsker & Moore, LLC, 480 F.3d 470 (7th Cir. 2007) that
       Section 1692f(6), which prohibits “[t]aking or threatening to take any
       nonjudicial action to effect dispossession or disablement of property” under
       certain circumstances, suggests that no portion of Section 1692f is applicable
       to state judicial proceedings. See Bentrud, 794 F.3d at 874-75 (noting that the
       phrase “nonjudicial action” “implies that state judicial proceedings are
       outside the scope of § 1692f.”); see also Beler, 480 F.3d at 475 (“The
       implication [of § 1692f(6)] is that state judicial proceedings are outside the
       scope of § 1692f.”). But neither case squarely held that state judicial
       proceedings are outside the scope of Section 1692f. Accordingly, this Court
       declines to conclude as a matter of law that Section 1692f can never apply to
       conduct during state judicial proceedings. See Eul v. Transworld Sys., 2017
       WL 1178537, at *15 (N.D. Ill. Mar. 30, 2017) (“this Court cannot conclude
       as a matter of law that alleged misconduct during state judicial proceedings
       is never actionable under § 1692f”). And because the Court concludes that
       Section 1692e can support a claim based on the same state court filings, it
       need not do so here. Thus, dismissal is not proper solely because the
       complaint concerns the content of state court filings.

       Nor does the Court find that the Bergs’ claims are barred because the filings
       at issue concern a judicial mortgage foreclosure, and thus a secured debt. The
       Seventh Circuit has yet to address the issue, but the Court is persuaded by the
       other courts in this District and those courts of appeals that have held that
       judicial mortgage foreclosure proceedings constitute “debt collection”
       regulated by the FDCPA.[4] See, e.g., Kabir v. Freedman Anselmo Lindberg
       LLC, 2015 WL 4730053, at *3 (N.D. Ill. Aug. 10, 2015) (“a foreclosure
       action qualifies as debt collection”); see also Khan v. OneWest Bank, F.S.B.,
       2017 WL 1344535, at *7 (N.D. Ill. Apr. 12, 2017) (“mortgage foreclosure
       can be debt collection”); Glazer v. Chase Home Fin. LLC, 704 F.3d 453, 461-
       63 (6th Cir. 2013) (same); Kaymark v. Bank of Am., N.A., 783 F.3d 168, 179
       (3d Cir. 2015) (same); Wilson v. Draper & Goldberg, P.L.L.C, 443 F.3d 373,
       376 (4th Cir. 2006) (initiation of foreclosure proceedings was an attempt to
       collect “debt” under the FDCPA). The Seventh Circuit has made clear that



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             “an explicit demand for payment” is not required for an activity to have been
             taken “in connection with the collection of any debt.” Gburek v. Litton Loan
             Servicing LP, 614 F.3d 380, 385 (7th Cir. 2010). And a broader reading
             makes sense in this context, because “[t]here can be no serious doubt that the
             ultimate purpose of foreclosure is the payment of money.” Glazer, 704 F.3d
             at 463. “[E]very mortgage foreclosure . . . is undertaken for the very purpose
             of obtaining payment on the underlying debt, either by persuasion (i.e.,
             forcing a settlement) or compulsion (i.e., obtaining a judgment of foreclosure,
             selling the home at auction, and applying the proceeds from the sale to pay
             down the outstanding debt.).” Id. at 461. Absent controlling authority to the
             contrary, this Court concludes that a judicial foreclosure action qualifies as
             debt collection under the FDCPA. To find otherwise “would create an
             enormous loophole in the [FDCPA] immunizing any debt from coverage if
             that debt happened to be secured by a real property interest”— a result which
             Congress surely did not intend. Kabir, 2015 WL 4730053, at *3 (quoting
             Wilson, 443 F.3d at 376); see also Reese v. Ellis, Painter, Ratterree & Adams,
             LLP, 678 F.3d 1211, 1213 (11th Cir. 2012) (holding otherwise would create
             a loophole, the practical result being that the FDCPA “would apply only to
             efforts to collect unsecured,” and “[t]hat can't be right”).

Id. *3-4.

       As observed by Judge Durkin, the Seventh Circuit has yet to determine whether mortgage

foreclosure actions qualify as debt collection activities under the FDCPA, but those courts of

appeals to consider the issue have all held that communications related to mortgage foreclosures

are covered by the FDCPA. See Kaymark v. Bank of Am., N.A., 783 F.3d 168, 179 (3d Cir. 2015)

(“Nowhere does the FDCPA exclude foreclosure actions from its reach. On the contrary,

foreclosure meets the broad definition of ‘debt collection’ under the FDCPA, and it is even

contemplated in various places in the statute.” (citations omitted)); Glazer v. Chase Home Fin.

LLC, 704 F.3d 453, 461 (6th Cir. 2013) (“[M]ortgage foreclosure is debt collection under the

FDCPA.”); Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1218 (11th Cir. 2012)

(“A communication related to debt collection does not become unrelated to debt collection simply

because it also relates to the enforcement of a security interest.”); Kaltenbach v. Richards, 464

F.3d 524, 529 (5th Cir. 2006) (“[A] party who satisfies § 1692a(6)'s general definition of a ‘debt



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collector’ is a debt collector for the purposes of the entire FDCPA even when enforcing security

interests.”); Wilson v. Draper & Goldberg, P.L.L.C., 443 F.3d 373, 376 (4th Cir. 2006) (“[A]ctions

surrounding the foreclosure proceeding were attempts to collect that debt.”); Piper v. Portnoff Law

Assocs., Ltd., 396 F.3d 227, 236 (3d Cir. 2005) (“[I]f a collector were able to avoid liability under

the FDCPA simply by choosing to proceed in rem rather than in personam, it would undermine

the purpose of the FDCPA.” (citation omitted) (internal quotation marks omitted)).

          The Sixth Circuit provides this instructive analysis in Montgomery v. Huntington Bank,

346 F.3d 693, 696 (6th Cir. 2003). In that case the plaintiff brought suit under three sections of

the FDCPA—§§1692c, 1692d, and 1692e. As to those three sections, the court found that “relief

is limited to ‘consumers’ . . . under §1692c.” In reaching this conclusion, the Court observed that

“§ 1692c ‘appears to be the most restrictive of the FDCPA’s provisions.’” Id. (quoting Wright v.

Fin. Serv. of Norwalk, Inc., 22 F.3d 647, 649 n.1 (6th Cir. 1994)). It reached a different conclusion

as to the other sections. Noting that §1692d explicitly provided for relief for any person harassed

or oppressed in the collection of a debt, and further noting that §1692e protected against any false

or misleading methods of debt collection and that §1692k(a) permits enforcement of that section

by any person who is harmed by a debt collector, the court concluded that these provisions

collectively demonstrate that any aggrieved party may bring suit under §§1692d and 1692e. [3] Id.

at 697.

          District courts in the Seventh Circuit engaged in a similar analysis to allow plaintiffs to

pursue §§1692e and 1692f claims for alleged misrepresentations in state court proceedings. See,

e.g., Tevere v. Weltman, Weinberg & Reis, Co., No. 1:17-cv-2455, 2019 WL 2341389, at *3 (N.D.

Ill. June 3, 2019)(“Because the FDCPA prohibits debt collectors from misrepresenting the legal

status of a debt and from seeking to collect amounts not permitted by law, courts have held that a




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debt collector violates the Act when it sues a consumer for legally unattainable relief.”); Rehman

v. Pierce & Associates, PC, No. 16 C 5178, 2017 WL 131560, at *4 (N.D. Ill. August 10,

2017)(“The filing of a legally defective debt collection suit can violate §1692e where the filing

falsely implies that the debt collector has legal recourse to collect the debt.”); Bauer v. RoundPoint

Mortg. Servicing Corp., No. 18 C 3634, 2018 WL 5388206, at *5 (N.D. Ill. Oct. 29, 2018) (threat

to file a suit barred by the single-refiling rule can be deceptive under the FDCPA); Kabir v.

Freedman Anselmo Linberg LLC, No. 14 C 1131, 2015 WL 4730053, at *3 (N.D. Ill. August 10,

2015)(“The Court thus agrees that a foreclosure action qualifies as debt collection.”).

       Importantly, the Court in Kabir made the distinction between allegations that the debt

collector merely violated a state court procedural rules and the representations contained in those

pleadings, writing:

                Further, the Kabirs are not complaining about the wording of the
                February 2013 pleadings or about whether FAL followed Illinois
                procedural rules or violated the Illinois Mortgage Foreclosure Law in
                filing the motions at issue. Cf. Beler, 480 F.3d at 47 (plaintiff challenged
                the form of the state court complaint, not any false representations in the
                pleadings, under § 1692e); Washington v. N. Star Capital Acquisition,
                LLC, No. 08 C 2823, 2008 WL 4280139, at *2 (N.D. Ill. Sept. 15, 2008)
                (plaintiff could not proceed on § 1692e claim where he alleged that the
                defendant violated Illinois pleading requirements because the alleged
                assignment was not attached to the state court complaint but did not
                allege that the statements in the state court complaint were false).
                Instead, the Kabirs are complaining that FAL made false statements to
                them, misrepresenting the status of a legal action related to their debt
                and harassing them by pursuing a judgment of foreclosure in a dismissed
                case. These allegations plausibly suggest violations of § 1692e, making
                judgment for FAL inappropriate on that claim. See Gearing v. Check
                Brokerage Corp., 233 F.3d 469, 472-73 (7th Cir. 2000) (allegation in
                state court complaint about the legal status of debt was false
                representation in violation of § 1692e); Grant-Hall v. Cavalry Portfolio
                Servs., LLC, 856 F. Supp. 2d 929, 944 (N.D. Ill. 2012) (“The filing of a
                legally defective debt collection suit can violate § 1692e where the filing
                falsely implies that the debt collector has legal recourse to collect the
                debt.”).



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Kabir, 2015 WL 4730053, at *5; Webb v. Law Office of Ira T. Nevel, LLC, No. 15 C 01087, WL

946962 (N.D. Ill. March 14, 2016).

        (F)     Materiality Is A Question of Fact and Cannot Defeat a Prima Facie Case

        Defendant also argues that it can escape liability for suing the Plaintiff for a debt it had not

right to collect because the statement that Argolica owned the debt was not material. This argument

simply misses the mark. Argolica not only did not own the debt but it had no legal standing to

bring the suit in its name and when it filed the amended complaint it represented to the Plaintiff

that it did have that legal standing and that Plaintiff’s home could be taken and sold at foreclosure

- clearly relief that Argolica could not legally obtain. It is a fundamental principle of Illinois law

that a party must have standing to bring suit and that a stranger to a transaction has no right to call

upon a party to answer allegations or defend claims not asserted by a real party in interest. Here,

Argolica’s false statement that it had standing and could pursue the relief sought was indeed

material because it goes to the very heart of the claims asserted against him - who if anyone was

he obligated to pay and what defenses did he have against that party. Moreover, this is not a case

where there was a simple misnomer. Here, the entities are distinct though possibly related. There

were multiple transfers of the subject note and this was highly material to Plaintiff to who was the

proper party in interest.


III.    CONCLUSION

        For each of the foregoing reasons, Plaintiff prays that the motion be denied.




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Dated: January 4, 2022                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on January 4, 2022, a copy of the foregoing PLAINTIFF’S RESPONSE TO

DEFENDANT’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12 (b)(1) AND

12 (b)(6) [DE #11] was served via the Court's Electronic Filing System on Defendant and counsel

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